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                                    5
                                         Attorney for Plaintiffs
                                    6

                                    7                      UNITED STATES DISTRICT COURT
                                    8                       FOR THE DISTRICT OF ALASKA
                                    9
                                         Diane L. Long and Balingo Lake     )
                                    10
                                         Individually, and as Parents of    )
                                    11   their minor child, J.L.,           )
                                                                            )
                                    12        Plaintiffs,                   )
                                                                            )
                                    13        vs.                           ) Case no.
                                                                            ) 3:16-cv-00089-JWS
                                    14   United States of America;          )
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                                         LifeMed Alaska, LLC;               )
  3003 Minnesota Drive, Suite 203




                                    15   University of Washington/          }
                                         University of Washington           }
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                                         Foundation, DBA Airlift Northwest, )
                                    17                                      )
                                                        Defendants.         )
                                    18

                                    19                         First Amended Complaint

                                    20         COME NOW plaintiffs and allege as follows:
                                    21
                                                                     Jurisdiction
                                    22

                                    23         1.    Plaintiffs are Alaskan Natives and residents of

                                    24   Anchorage, Alaska, in the District of Alaska.

                                    25



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                                    1           2.   Plaintiffs Diana Long [hereinafter "Long"] and
                                    2    Balingo Lake [hereinafter "Lake"] are adults and the natural
                                    3
                                         parents of plaintiff J.L., a minor child.
                                    4
                                                3.   The Hooper Bay Subregional Clinic [hereinafter
                                    5
                                         "the Clinic"] is a health-care facility owned and operated
                                    6
                                         by the Yukon-Kuskokwim Health Corporation ["YKHC"], a tribal
                                    7
                                         organization whose medical malpractice is covered by the
                                    8
                                         Federal Tort Claims Act, 28 USC §§ 1346, 2401, and 2671 et
                                    9

                                    10   seq.

                                    11          4.   Steven Bertrand was at all times pertinent a

                                    12   physician's    assistant    acting   within       the    scope   of   his

                                    13   employment at the Clinic.
                                    14          5.   More than six months ago, the claim giving rise to
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                                    15
                                         this suit was presented to the appropriate federal agency
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                                         within the meaning of 28 USC § 2675(a).
                                    17
                                                6.   Said   agency   has   denied    the    claim,    either   by
                                    18
                                         expressly rejecting it outright, or by failing to make a
                                    19
                                         final disposition of it within six months, as contemplated
                                    20
                                         by 28 USC § 2675(a).
                                    21

                                    22          7.   Defendant    LifeMed     Alaska,       LLC     [hereinafter

                                    23   "LifeMed"] is a limited liability company organized and

                                    24   existing under the laws of the State of Alaska, and at least

                                    25   50% owned by YKHC.


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                                    1          8.    LifeMed owns and operates an air- and ground-
                                    2    ambulance    service    that     transports    patients   throughout
                                    3
                                         Alaska.
                                    4
                                               9.    At all times relevant hereto, Brian Anderson, RN,
                                    5
                                         and Steven Heyano, MICP EMT-P, and other employees, were
                                    6
                                         either employed by LifeMed, and acting within the scope of
                                    7
                                         that employment, or were agents of LifeMed, and acting within
                                    8
                                         the scope of that agency.
                                    9

                                    10         10.   At all times relevant hereto, defendant University

                                    11   of     Washington/University        of      Washington     Foundation

                                    12   [hereinafter “University”] was a public university in the

                                    13   State of Washington with its principal place of business in
                                    14   King County, Washington.
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                                    15
                                               11.   At all times relevant hereto,         Airlift Northwest
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                                         [hereinafter “Airlift”] was licensed to do business in the
                                    17
                                         State of Alaska and was owned by the University.
                                    18
                                               12.   Airlift provides air medical transport services to
                                    19
                                         patients throughout Alaska and the Pacific Northwest.
                                    20
                                               13.   This   court   has    jurisdiction    over    the   claims
                                    21

                                    22   asserted herein.

                                    23
                                                                 General Allegations
                                    24
                                               14.   On at least three occasions in March and April of
                                    25
                                         2015, Long presented her four-month old infant daughter,

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                                    1    J.L., to the Clinic in Hooper Bay for medical care and
                                    2    treatment     of    what      appeared   to   be   a   respiratory    viral
                                    3
                                         condition.
                                    4
                                                15.   During these visits, J.L. was placed under the
                                    5
                                         care   and    treatment        of   Steven    Bertrand,    a   physician's
                                    6
                                         assistant.
                                    7
                                                16.   By the time of her visit on April 29, 2016, J.L.'s
                                    8
                                         signs and symptoms had worsened and intensified:                  her heart
                                    9

                                    10   rate was 180; respiratory rate was 52; her oxygen saturation

                                    11   was 99%; she had audible wheezing; a fever of 100.5; her

                                    12   appetite     and    fluid-intake      had     decreased,   and;    she   had

                                    13   retractions        in   the     upper-abdomen/stomach      region     while
                                    14   breathing.
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                                    15
                                                17.   Despite       J.L.'s    worsening     signs   and    symptoms,
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                                         Bertrand failed to properly and adequately diagnose, treat,
                                    17
                                         and deal with J.L.'s worsening status.
                                    18
                                                18.   For example, he did not administer simple tests
                                    19
                                         for influenza or respiratory syncytial virus ["RSV"], a
                                    20
                                         respiratory-tract infection that can be fatal in infants if
                                    21

                                    22   not properly treated, or send her into the hospital for

                                    23   aggressive treatment.

                                    24          19.   On May 3, 2015, Long again presented J.L. to the

                                    25   Clinic -- this time after hours, and in critical condition.


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                                    1          20.    At   that   point,   J.L.    was     septic,    profoundly
                                    2    dehydrated; febrile; had a very elevated pulse; an elevated
                                    3
                                         respiratory rate; audible wheezing; low oxygen saturation;
                                    4
                                         intercostal       retractions;    nasal       flaring,    and    general
                                    5
                                         nonresponsiveness.
                                    6
                                               21.    In light of the gravity of J.L.'s condition,
                                    7
                                         LifeMed was summoned to evacuate her by air to a more
                                    8
                                         complete     health-care     facility,    first     in    Bethel,     and
                                    9

                                    10   ultimately to the Alaska Native Medical Center ["ANMC"] in

                                    11   Anchorage.

                                    12         22.    Prior to the flight, Bertrand improperly placed an

                                    13   intraosseous line in J.L.'s left tibia.
                                    14         23.    He then failed to detect and ensure its improper
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                                    15
                                         placement.
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                                               24.    Registered nurse Brian Anderson, together with
                                    17
                                         Steven Heyano, MICP EMT-P, and others responded on LifeMed's
                                    18
                                         behalf to provide medical care for J.L. while en route to
                                    19
                                         Anchorage.
                                    20
                                               25.    During   the   flight,    Anderson     and     Heyano   both
                                    21

                                    22   visualized and noted clear signs of extravasation, such as

                                    23   intensifying and deepening redness in the left leg.

                                    24         26.    Nevertheless,    they    still    administered     powerful

                                    25   medicinal agents through the improperly placed needle and


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                                    1    line, resulting in extravasation -- a maloccurrence whereby
                                    2    fluids are injected into surrounding tissues, rather than
                                    3
                                         into the target blood vessel itself.
                                    4
                                               27.    Neither    practitioner        took        reasonable      and
                                    5
                                         sufficient precautions to ensure the line's proper placement
                                    6
                                         and patency.
                                    7
                                               28.    Nor did they inform ANMC receiving personnel in
                                    8
                                         Anchorage about their in-flight observations of redness and
                                    9

                                    10   concerns about extravasation.

                                    11         29.    The resulting extravasation caused swelling and

                                    12   ischemia [obstructed blood-flow], which in turn killed the

                                    13   tissues [necrosis] in J.L.'s left lower extremity.                Although
                                    14   ANMC's   doctors    attempted    to    treat   J.L.'s      ischemic      and
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                                    15
                                         necrotic lower left leg, their efforts failed; ultimately,
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                                         the leg was amputated.         Respiratory cultures taken at ANMC
                                    17
                                         revealed that J.L. did have RSV and influenza, which had
                                    18
                                         progressed to the point of causing respiratory failure,
                                    19
                                         sepsis      [blood-poisoning],        and   septic        shock    [sepsis
                                    20
                                         accompanied by low blood-pressure].
                                    21

                                    22         30.    ANMC practitioners also determined that J.L. had

                                    23   a left pneumothorax [collapsed lung], which they treated.

                                    24         31.    The   above-described      sepsis,    as     well    as   other

                                    25   physiological      responses    to    J.L.'s      viral    infection(s),


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                                    1    damaged     J.L.'s     heart,       likely     necessitating        ongoing
                                    2    treatments throughout her lifetime, including ultimately a
                                    3
                                         heart transplant.
                                    4
                                               32.    On May 6, 2016 J.L. was scheduled for transfer
                                    5
                                         from ANMC to Seattle Children’s.
                                    6
                                               33.    The transport team comprised of flight nurses from
                                    7
                                         Airlift     arrived   at     ANMC   to   transport      J.L.   to   Seattle
                                    8
                                         Children’s.
                                    9

                                    10         34.    The flight nurses prepared to transport J.L. by

                                    11   placing her on their ventilator and their monitors, after

                                    12   which J.L. suffered cardiac arrest.

                                    13         35.    The flight nurses from Airlift failed to properly
                                    14   monitor     J.L’s     respiratory        status   when     changing    the
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                                    15
                                         ventilator, thereby causing her cardiac arrest and metabolic
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                                         acidosis.
                                    17
                                               36.    The acts, errors, and omissions alleged herein
                                    18
                                         have proximately caused injury and damage to J.L., including,
                                    19
                                         but not necessarily limited to:
                                    20
                                               a.     Physical pain and suffering, past and future;
                                    21

                                    22         b.     Severe    and    permanent      physical    impairment    and

                                    23   disfigurement;

                                    24         c.     Emotional distress and psychological injury, past

                                    25   and future;


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                                    1          d.     Inconvenience and loss of enjoyment of life, past
                                    2    and future;
                                    3
                                               e.     Medical- and treatment-related expenses, including
                                    4
                                         life-care expenses, past and future;
                                    5
                                               f.     Other   pecuniary    losses,      past     and   future,
                                    6
                                         including, but not necessarily limited to, lost wages and
                                    7
                                         earnings, lost earning capacity, lost subsistence capability
                                    8
                                         and earnings, and; loss of career and business opportunities.
                                    9

                                    10
                                                     Cause of Action – Negligence/Recklessness
                                    11                      [On each plaintiffs' behalf
                                                              against each defendant]
                                    12
                                               37.    Plaintiffs incorporate each of the allegations
                                    13
                                         heretofore alleged.
                                    14
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                                               38.    Medical care providers at the Clinic, LifeMed, and
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                                    15
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                                         Airlift failed to exercise that degree of skill, care, and
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                                    16
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                                    17   knowledge    ordinarily   exercised    and    possessed   under   the

                                    18   circumstances by health care providers in their fields and

                                    19   specialties.
                                    20         39.    Said lapses and breaches of skill, care, and
                                    21
                                         competence    proximately    caused   the    injuries   and   damages
                                    22
                                         alleged herein.
                                    23
                                               40.    Said lapses and breaches constitute recklessness
                                    24
                                         within the contemplation of AS 09.55.549(f).
                                    25



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                                    1          41.   Defendants are liable to each of the plaintiffs
                                    2    for negligence, in an amount to be proved at trial.
                                    3

                                    4          WHEREFORE, plaintiffs pray for relief as follows:

                                    5          1.    For   a   judgment    against   defendants,     and   in

                                    6    plaintiffs' favor, compensating them for their injuries and

                                    7    damages, as alleged;
                                    8          2.    For an award of compensable costs, compensable
                                    9
                                         attorney's fees, and any applicable interest.
                                    10
                                               3.    For any other relief the court may deem just and
                                    11
                                         proper.
                                    12
                                               DATED this ____ day of January, 2017, at Anchorage,
                                    13
                                         Alaska.
                                    14
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                                    15
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                                                                      Attorney for the Plaintiffs
                                    17

                                    18                                s/David Henderson______________
                                                                      David Henderson #9806014
                                    19

                                    20

                                    21

                                    22

                                    23

                                    24

                                    25



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